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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

STEPHEN BARBEE,                        §
             Plaintiff,                §
                                       §
                                       §   CIVIL ACTION NO. 4:21–CV–03077
v.                                     §        DEATH PENALTY CASE
                                       §
BRYAN COLLIER, et al.,                 §
        Defendants.                    §

   DEFENDANTS COLLIER, LUMPKIN, AND CROWLEY’S REPLY TO
PLAINTIFF’S RESPONSE TO DEFENDANTS’ MOTION TO DISMISS BASED
                        ON MOOTNESS




                            EXHIBIT A
                           Affidavit of Bobby Lumpkin
